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 6   Attorney for Defendant,
     NAJEH KAMAL JAWAD
 7

 8
                       IN THE UNITED STATES DISTRICT COURT
 9
                      EASTERN DISTRICT OF CALIFORNIA, FRESNO
10

11   UNITED STATES OF AMERICA,            ) Case No.: 1:06-CR-00365-LJO
                                          )
12              Plaintiff,                )
                                          )
13                                        ) STIPULATION AND ORDER TO
           v.                             ) TERMINATE PRETRIAL SERVICES
14                                        ) SUPERVISION AND RETURN
                                          ) PASSPORT
15                                        )
     NAJEH KAMAL JAWAD,                   )
16                                        )
                Defendant.                )
17                                        )
                                          )
18                                        )
19        TO THE ABOVE-ENTITLED COURT AND THE UNITED                         STATES
     ATTORNEY FOR THE EASTERN DISTRICT OF CALIFORNIA:
20

21         IT   IS    HEREBY   STIPULATED     by    and   between    the    parties
22   hereto,    and    through   their    respective      attorneys    of    record
23   herein, that Pretrial Services Supervision be terminated as
24   to Defendant, NAJEH KAMAL JAWAD.              It is also stipulated that
25   Defendant’s passport be returned forthwith.
26   ///
27   ///
28   ///

                                           - 1 -
       STIPULATION AND [PROPOSED] ORDER TO TERMINATE PRETRIAL SERVICES SUPERVISION
                                CASE NO.: 1:06-cr-00365-LJO
                           Case 1:06-cr-00365-LJO-BAM Document 213 Filed 12/17/12 Page 2 of 2


 1   DATED: December 12, 2012                                     Respectfully submitted,
 2                                                                /s/Anthony P. Capozzi
 3                                                                ANTHONY P. CAPOZZI
                                                                  Attorney for, NAJEH KAMAL
 4                                                                JAWAD
 5

 6
     DATED: December 12, 2012                                     BENJAMIN B. WAGNER
 7                                                                United States Attorney
 8
                                                                  By: /s/ Mark E. Cullers_
 9
                                                                  MARK E. CULLERS
10                                                                HENRY Z. CARBAJAL
11                                                                Assistant U.S. Attorneys
                                                                  MEGAN A.S. RICHARDS
12                                                                Special Assistant U.S.
13
                                                                  Attorney

14

15

16                                                           ORDER
17

18                            IT IS HEREBY ORDERED that Pretrial Services Supervision be
19   terminated as to Defendant, NAJEH KAMAL JAWAD, and his
20   passport shall be returned.
21

22
     IT IS SO ORDERED.
23

24
                           Dated:   December 14, 2012                /s/ Lawrence J. O’Neill
     DEAC_Signature-END:
                                                                  UNITED STATES DISTRICT JUDGE
25
     b9ed48bb
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28


                                                               - 2 -
                           STIPULATION AND [PROPOSED] ORDER TO TERMINATE PRETRIAL SERVICES SUPERVISION
                                                    CASE NO.: 1:06-cr-00365-LJO
